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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                           04-CV-4538(JMR/RLE)


United States of America,     )
ex rel. Steven P. Radjenovich )
                              )
          v.                  )                 ORDER
                              )
Stanley C. Gallagher,         )
Wheaton Community Hospital,   )
City of Wheaton, Minnesota    )


     This matter is before the Court on the parties’ cross-motions

for summary judgment.     A hearing was held on August 14, 2009.

     Based on the files, records, and proceedings herein, IT IS

ORDERED that:

     1.   Defendant Wheaton Community Hospital’s motion for summary

judgment [Docket No. 133] is denied.

     2.   The   government’s     motion   for   partial   summary      judgment

[Docket No. 137] is denied.

     3.   Defendant    Stanley    C.   Gallagher’s      motion   for   summary

judgment [Docket No. 145] is denied.

Dated:    August 14, 2009




                                   S/JAMES M. ROSENBAUM
                                   JAMES M. ROSENBAUM
                                   United States District Judge
